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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI
EASTERN DIVISION

TAGREED ALAMEEN,
Plaintiff, Case No.: 4:21-cv-00055
Vv. JURY TRIAL REQUESTED

Removed from Circuit Court of
St. Louis County, Missouri

WAL-MART STORES EAST, LP, and
JOHN DOE, Manager,

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Defendants.

NOTICE OF REMOVAL

 

COMES NOW Defendant, WAL-MART STORES EAST, LP, by and through its
attorneys, BETH C. BOGGS and BOGGS, AVELLINO, LACH & BOGGS, L.L.C., pursuant to
28 U.S.C. § 1441 and 28 U.S.C. § 1446, and for its Notice of Removal, states to the Court
as follows:

i This action entitled Tagreed Alameen v. Wal-Mart Stores East, LP, and John
Doe was commenced in the Circuit Court of St. Louis County on or about December 3,
2020.

2. The attached Petition was served upon Wal-Mart Stores East, LP, on
December 15, 2020.

3. The Plaintiff is a citizen of the State of Missouri, residing in St. Louis City.
See Plaintiff’s Petition, { 1. Therefore, she is a resident and citizen of the State of Missouri.

4, Defendant, Wal-Mart Stores East, LP, is a Delaware limited partnership,

having its principal place of business in the State of Arkansas. The members of the limited

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partnership are citizens of the State of Arkansas. Thus, for purposes of diversity, Defendant
is a citizen and resident of the States of Delaware and Arkansas.

5. Defendant asserts that complete diversity exists, as Defendant is a citizen and
resident of the States of Delaware and Arkansas for purposes of federal jurisdiction. See 28
U.S.C. § 1332(c)(1).

6. This is an action over which the Court has original jurisdiction under the
provisions of 28 U.S.C. § 1332, in that the matter in controversy, exclusive of interest and
costs, exceeds the sum of $75,000.00 and is between citizens of different states. The
Plaintiff claims injuries from a slip. The Petition alleges that she sustained a serious injury
to her left hip, enduring pain and suffering, and requiring medical treatment.

As Plaintiff's counsel has made a demand in the amount of $110,000.00 to
resolve this case.

8. Copies of all processes, pleadings, orders, records, and proceedings in St.
Louis County are attached to this Notice of Removal.

9. Defendant has filed this Notice of Removal within thirty (30) days after the
service of the Petition, from which it was first ascertained that the case was removable.

WHEREFORE, Defendant, Wal-Mart Stores East, LP, respectfully requests that this
Court acknowledge jurisdiction over this action and allow removal thereto to this Court for
the determination of all issues involved herein.

DEFENDANT DEMANDS TRIAL BY JURY

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Respectfully submitted,

WAL-MART STORES EAST, LP

By:_/s/ Beth C. Boggs
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing
document was electronically filed with the Clerk of the United States District Court, Eastern
District of Missouri, by using the Court’s CM/ECF Electronic Filing System this 14th day of
January, 2021, with an electronic copy to be served by e-mail upon the following:

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